 

Case 2:04-cr-01189-CAS Document 214 Filed 07/13/20 Page 1 of 4 Paga@dit #ouG mcr court

 

United States District Court July 13, 2020

Central District of California

 

 

 

CENTRAL "CMY OF CALIFORNIA

 

 

 

‘United States of America BY: DEPUTY
Plaintiff Original Exhibit Lodged
Case Number
Vv. 04-CR-1189-CAS

Gabriel Gonzalez
Defendant, Pro Se

Motion to include Exhibit

Gabriel Gonzalez asks this Honorable Court to accept this important Exhibit
for inclusion in the current matter.

This Exhibit, the 'Mad-Max' video, contains important information necessary
to demonstrate the conditions existant at Gonzalez’ prison housing unit at FCI
Forrest City. This information is necessary to provide the court with some necessary
details of the open dormitory setting, coupled with the lack of maintenance and
other dangerous states and preconditions which directly affect prisoner exposure
and susceptibility to the Coronavirus at the prison. (katv.com/news/local/its-like-
mad-max~in-here-inmates-at-arkansas-prison-panic-amid-outbreak; Also, Paige Cushman
"Its like mad max in here’ ABC news (April 15, 2020).

Gonzalez prays the court accept this important exhibit for inclusion.
Verification
I have read the foregoing Motion to include Exhibit and hereby verify that

the matters alleged herein are true, except as to matters alleged on information

and belief, and as to those, I believe them to be true and correct. Executed at

 
 
   

Forrest City, Arkansas on this26th day of June, 2020. 7

Gabriel
Defendant, Pro Se
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Certificate of Service

I certify under the penalty of perjury that the foregoing Motion to include
Exhibit was placed in the prison's internal mail system, postage pre-paid, for service
upon this court via U.S. mail on this 26th day of June, 2020 to 312 N. Spring Street
Los Angeles, California 90012. Gonzalez asks this court's clerk to serve all other
interested parties by electronic notification and to provide him with a stamped

and filed copy of this motion.

    

Gabriel Gonzate
Defendant, pro
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NN

 

 

“It’s Like Mad Max In Here”
(DVD)

 

 

 

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Case 2:04-cr

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